22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 1 of 14



                                EXHIBIT H
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 2 of 14


            2⃣
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            1⃣
            3⃣
 BOT: Welcome
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Send wire

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: Type your first & last name below

 USER: Matthew Levitt

 BOT: Type your email below

 USER: Matthewjlevitt@gmail.com

 BOT: Your ticket ID is 512402.     Our support team will get back to you
 as soon as possible
 BOT:    Also lookout for an email with this ticket number. One of our
 team will respond to that email

 USER: When are you issuing the debit card?

 BOT: To pre-register for the Voyager Debit Card, follow these steps:
 BOT:    Update your Voyager app in the Apple App Store or Google Play
 Store
 BOT:    Open the app
 BOT:    Tap Debit on the navigation bar
 BOT:    Click Get Early Access to reserve your card

 USER: Already did that

 BOT: Please clarify, here's what I found

 USER: Send wire

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 3 of 14




 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 AGENT (Florence Taylor): Hello there!
 AGENT (Florence Taylor): Thank you reaching out to Voyager. I will be
 assisting you today.

 USER: Hello Florence. Looking to send a wire in

 AGENT (Florence Taylor): I will be glad to help you out.

 USER: Presuming ai use the same account details with my phone number
 in memo
 USER: Want to make sure you have on record that I'll be sending in
 funds that will s week
 USER: Please confirm

 AGENT (Florence Taylor): Let me have a look into your account.
 AGENT (Florence Taylor): There is a $50 charge from our bank that is
 passed through to you and a $10K minimum on incoming wires and a $25K
 minimum on outgoing wires. If you want to move less than these
 amounts, please do so in the app. Your funds will generally be
 available within 24 hours.
 AGENT (Florence Taylor): Account Name: Voyager Digital, LLC.
 ABA/Routing No: 026013356
 Account No: 1099000254
 Bank Address: Metropolitan Commercial Bank 99 Park Avenue New York, NY
 10016
 Reference: INCLUDE THE PHONE NUMBER ON YOUR ACCOUNT
 AGENT (Florence Taylor): *Note* Voyager does not have an account
 number. Please make sure to include your account phone number. Your
 funds will generally be available within 24 hours.

 BOT: Hey, it’s Val again, hope you enjoyed your conversation with your
 Voyager rep! Is there anything else I can help you with?

 USER: Wire Instructions
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 4 of 14




 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 AGENT (Florence Taylor): Hello Matthew.

 USER: I am looking to wire in several hundred thousand dollars can I
 please get some kind of confirmation email that the wire instructions
 are the same. Thank you
 USER: Okay got it. Sorry. I left the char for a while and didn't see
 the instructions provided. I will confirm once funds are sent this
 week. Thanks
 USER: I can confirm a wire will be sent tomorrow for $380 000 with the
 memo as Matthew Levitt (424) 228-6796. Thank you

 AGENT (Florence Taylor): You are welcome Matthew. Have a great day!

 BOT: Hey, it’s Val again, hope you enjoyed your conversation with your
 Voyager rep! Is there anything else I can help you with?
 BOT:
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.
 BOT: Greetings
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Send wire

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 5 of 14


 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Joel Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your ticket ID is 570747. Our support team will get back to you
 as soon as possible.
 BOT:    Also lookout for an email with this ticket number. One of our
 team will respond to that email
 BOT: Hello
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Send wire

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 AGENT (Danny Johnson): Hello
 AGENT (Danny Johnson): Thank you for contacting Voyager support.
 AGENT (Danny Johnson): We’re happy to help you with a wire transfer.
  There is a $50 charge from our bank that is passed through to you and
 a $10K minimum on incoming wires and $25K minimum on outgoing wires..
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 6 of 14


  If you want to move less than these amounts, please do so in the app.
 AGENT (Danny Johnson): Account Name: Voyager Digital, LLC.
 ABA/Routing No: 026013356
 Account No: 1099000254
 Bank Address: Metropolitan Commercial Bank 99 Park Avenue New York, NY
 10016
 Reference: INCLUDE THE PHONE NUMBER ON YOUR ACCOUNT
 AGENT (Danny Johnson): *Note* Voyager does not have an account
 number. Please make sure to include your account phone number. Your
 funds will generally be available within 24 hours.

 USER: Thank you. I will send today

 BOT: Bye

 USER: Thank you. I will send today

 AGENT (Danny Johnson): You're welcome. Have a good day.

 BOT:
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Wire

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 USER: Matthewjlevitt@gmail.com
 USER: I am confirming that $60 000 was just wired to Voyager for
 Matthew Levitt 4242286796. Thank you.
22-10943-mew     Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                               to Levitt Aff. Pg 7 of 14


 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: I   am confirming that   $60 000 was just wired to Voyager for
 Matthew   Levitt 4242286796.   Thank you.
 USER: I   am confirming that   $60 000 was just wired to Voyager for
 Matthew   Levitt 4242286796.   Thank you.

 BOT: Sorry, I didn't quite get that. Please make your selection again.
 BOT: What type of wire are you looking to do?

 USER: I am confirming that $60 000 was just wired to Voyager for
 Matthew Levitt 4242286796. Thank you.
 USER: Wire in

 BOT: Sorry, I didn't quite get that. Please make your selection again.
 BOT: What type of wire are you looking to do?

 USER: Wire in

 BOT: Welcome
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Confirm wire transfer

 BOT: We are happy to provide you info about wire transfers!

 USER: Confirm wire transfer

 BOT: What type of wire are you looking to do?

 AGENT (BENJAMIN BARKER): Your wire has been credited to your account
 and is available in the app. You’re all set to start trading.

 Let us know if you have any questions or concerns.

 BOT: Welcome
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Wire Instructions

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 8 of 14


 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your ticket ID is 610546. Our support team will get back to you
 as soon as possible.
 BOT:    Also lookout for an email with this ticket number. One of our
 team will respond to that email
 BOT: survey message

 USER: <a href="mailto:Matthewjlevitt@gmail.com" style="color:
 inherit;">Matthewjlevitt@gmail.com</a>

 BOT: What personal information do you need to update?
 BOT: Hey!
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Wire Instructions

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your ticket ID is 610548. Our support team will get back to you
 as soon as possible.
 BOT:    Also lookout for an email with this ticket number. One of our
 team will respond to that email
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                             to Levitt Aff. Pg 9 of 14


 BOT: survey message

 USER: matthewjlevitt@gmail.com

 BOT: Sorry, I can't follow links
 BOT:
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.
 BOT:
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Wire Instructions

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: matthewjlevitt@gmail.com

 BOT: Your ticket ID is 610549. Our support team will get back to you
 as soon as possible.
 BOT:    Also lookout for an email with this ticket number. One of our
 team will respond to that email
 BOT: survey message

 USER: <a href="mailto:matthewjlevitt@gmail.com" style="color:
 inherit;">matthewjlevitt@gmail.com</a>

 BOT: What personal information do you need to update?
 BOT: Hi there
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Transfer crypto
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                            to Levitt Aff. Pg 10 of 14




 BOT: We've got a step-by-step video for that!
 BOT: Take a look here
 BOT: video message

 USER: Transfer blocked

 BOT: Ok, we'll try to help you out here, we know this is cause for
 concern. A couple first steps:
 BOT:     If you can, change your Voyager and personal email passwords
 right away
 BOT:     Update your 2-factor authentication to an Authenticator app
 here and on your email
 BOT: We will send this to our support team for handling as soon as
 possible
 BOT: First we'll put a hold on your account as soon as we can to
 protect your assets. Then we'll be in touch with you to learn more.
 Before releasing the hold, we'll ask you for documents to verify your
 ID
 BOT: Type your first & last name below

 USER: Matthew Levitt

 BOT: Your ticket ID is 618441.     Our support team will get back to you
 as soon as possible
 BOT:    Also lookout for an email with this ticket number. One of our
 team will respond to that email

 USER: Voyager not aloowing transfer

 BOT: We have 30+ assets to send to and from Voyager right in your app!
 BOT: Here's a full list of coins that can be transferred
 BOT: https://www.investvoyager.com/blog/how-to-transfer-crypto-assets-
 on-voyager/
 BOT: Hi there
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Wire Instructions

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                            to Levitt Aff. Pg 11 of 14


 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 AGENT (Vanessa Merlyn): Hello Matthew. Thank you for contacting
 Voyager.
 AGENT (Vanessa Merlyn): I understand your concern regards to wire
 instructions (add to Voyager account).
 AGENT (Vanessa Merlyn): For incoming wires, Voyager has a $10,000
 minimum and there is a $50 wire fee (charged by our bank) which will
 be deducted from your wire amount for wires less than $25,000.00. For
 outgoing wires, Voyager has a $10,000 USD minimum and charges a $50.00
 USD fee.
 AGENT (Vanessa Merlyn): Account Name: Voyager Digital, LLC.
 ABA/Routing No: 026013356
 Account No: 1099000254
 Bank Address: Metropolitan Commercial Bank 99 Park Avenue New York, NY
 10016
 Reference: The phone number associated with your Voyager account
 AGENT (Vanessa Merlyn): *Note* Voyager users do not have account
 numbers. Please make sure to reference the phone number associated
 with your Voyager account on the wire.
 AGENT (Vanessa Merlyn): Once you receive confirmation that the wire
 has been sent from your bank, please respond to this ticket with the
 exact amount of your wire. Your funds will be available within 24
 hours.
 AGENT (Vanessa Merlyn): Thank you for messaging with us today. Take
 care and stay well! Please message with us again if you need any
 additional assistance.

 BOT: Chat survey was submitted
       Satisfaction rating: None/5

 BOT: Hey, it’s Val again, hope you enjoyed your conversation with your
 Voyager rep! Is there anything else I can help you with?

 USER: Wire Sent today for $65000

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Add to my Voyager account
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                            to Levitt Aff. Pg 12 of 14




 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 USER: Confirming wire just sent today for $65000 for Matthew Levitt
 4242286796. Thank you

 AGENT (Matthew Martin): Hello Matthew. Thank you for reaching out to
 Voyager support.

 USER: Hello. Please post the $65000 to my account. It should be there
 now or very soon

 AGENT (Vanessa Merlyn): I understand your concern.
 AGENT (Vanessa Merlyn): I am glad to assist you.
 AGENT (Vanessa Merlyn): Thank you for confirming your wire. Your funds
 will be available within the next 24 hours. Please let us know if you
 have any further questions or concerns.

 BOT: Chat survey was submitted
       Satisfaction rating: None/5

 BOT: Hey, it’s Val again, hope you enjoyed your conversation with your
 Voyager rep! Is there anything else I can help you with?
 BOT: Greetings
 BOT: I'm Val, your Voyager virtual assistant. I'm created by the
 Voyager team and hope I can help you out!
 BOT: Let's get started! Ask me your question by typing below.

 USER: Send wire

 BOT: We are happy to provide you info about wire transfers!
 BOT: What type of wire are you looking to do?

 USER: Selected: Withdraw from my Voyager account

 BOT: Ok, want you to know, there's $10K minimum and a $50.00 fee for
 the wire
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                            to Levitt Aff. Pg 13 of 14


 BOT: If you would like to initiate a wire, I can get the process
 started with our support team!
 BOT: What is your full name?

 USER: Matthew Levitt

 BOT: What is the email address associated with your Voyager account?

 USER: Matthewjlevitt@gmail.com

 BOT: Your Voyager rep will respond here in a bit. Feel free to leave
 and come back at your convenience to check on your inquiry.

 AGENT (Vanessa Merlyn): Hello Matthew. Thank you for contacting
 Voyager.
 AGENT (Vanessa Merlyn): I understand your concern regards to wire
 withdrawal.
 AGENT (Vanessa Merlyn): There is a $50 charge from our bank that is
 passed through to you and a $10K minimum on incoming wires and a $25K
 minimum on outgoing wires.
 AGENT (Vanessa Merlyn): If you are interested in submitting a wire
 withdrawal please provide your bank details below.
 Account Name:
 ABA/Routing No:
 Account No:
 Bank Address:
 AGENT (Vanessa Merlyn): Also, please confirm the amount that you wish
 to withdraw.

 USER: The Levitt Group
 USER: 026009593 Routing
 USER: 325161129848 account number
 USER: Entire account. Will move my crypto to cash. Approximately $700
 000. Please advise if any restrictions before I give exact amount to
 send

 AGENT (Vanessa Merlyn): There is no limits for wire outgoing.
 AGENT (Vanessa Merlyn): Please share the bank address and withdrawal
 amount?

 USER: Bank of America, 880 East Colorado Blvd, Pasadena, CA 91106

 AGENT (Vanessa Merlyn): I will forward this request to our team and
 will get back to you shortly with an update.
 AGENT (Vanessa Merlyn): Thank you for messaging with us. We have
 created a new ticket and your ticket ID is 643707. Our team will get
 back to you as soon as possible via email.

 BOT: Chat survey was submitted
       Satisfaction rating: None/5
22-10943-mew   Doc 161-9   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex. H
                            to Levitt Aff. Pg 14 of 14




 BOT: Hey, it’s Val again, hope you enjoyed your conversation with your
 Voyager rep! Is there anything else I can help you with?

 USER: $676551.66

 BOT: Sorry, I don't understand that. I'm still learning...
 BOT: Ask me again with different words?
